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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

GEORGE AINSWORTH,
an individual, Case No.:

Plaintiff,
v.

DFS SERVICES LLC d/b/a DISCOVER BANK,
a foreign limited liability company,

Defendant.
/

VERIFIED COMPLAINT

COME NOW, Plaintiff, GEORGE AINSWORTH (hereinafter, “Plaintiff”), by and
through the undersigned counsel, and hereby sues Defendant, DFS SERVICES LLC d/b/a
DISCOVER BANK (hereinafter, “Defendant”). ln support thereof, Plaintiff states;

PRELIMINARY STATEMENT

l. This is an action for damages brought by an individual consumer for Defendant’s
violations of the Florida Consumer Collection Practices Act, Chapter 559, Florida Statutes
(hereinafter, the “FCCPA”), the Telephone Consumer Proteetion Act, 47 United States Code,
Section 227 (hereinafter, the “TCPA”), and for declaratory judgment and injunctive relief in
equity.

2. Specifically, this is an action for Defendant’s unlawful attempts to collect a
consumer debt from Plaintiff by placing calls to Plaintift’s cellular telephone using an automatic
telephone dialing system, a predictive telephone dialing system, or an artificial or pre-recorded

voice, despite Defendant lacking Plaintifi’s consent to make such calls to his cellular telephone.

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JURISDICTION, VENUE & PARTIES

3. Jurisdiction of the Court arises under 47 United States Code, Section 227(b)(3), 28
United States Code, Section 1337, and supplemental jurisdiction exists for the FCCPA claims
pursuant to 28 United States Code, Section 1367. Declaratory relief is available pursuant to 28
United States Code, Sections 2201 and 2202.

4. Defendant is subject to the jurisdiction of this Court as Defendant regularly
transacts business in this District as the events described herein occur in this District.

5. Venue in this District is proper because Defendant transacts business in this
District, and the conduct complained of occurred in this District.

6. At all material times herein, the conduct of Defendant, complained of beloW, occurs
in Pinellas County, Florida.

7. At all material times herein, Plaintiff is an individual residing in Pinellas County,
Florida.

8. At all material times herein, Defendant is a foreign limited liability company
engaged in business in Florida With its principal place of business located at 2500 Lake Cook
Road, RiverWoods, Illinois 60015.

FCCPA STATUTORY STRUCTURE

9. The FCCPA is a state consumer protection statute, modeled after the Federal F air
Debt Collection Practices Act, a statute designed to prohibit unfair, deceptive, and abusive
practices in collection of consumer debts as Well as to protect against the invasion of individual

privacy. 15 United States Code, Section 1692(a) and (e); Florida Statutes, Sections 559.55 and

559.77(5).

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10. The FCCPA imposes civil liability on a creditor that “offers or extends credit
creating a debt or to whom a debt is owed . . .” and prohibits any person from engaging in particular
conduct in connection with collecting consumer debts. Florida Statutes, Section 559.55(5).

l l. Specifically, the FCCPA prohibits unlawful debt collection “communications” with
consumer debtors, which is defined as “the conveying of information regarding a debt directly or
indirectly to any person through any medium” (emphasis added). Florida Statutes, Section
559.5 5 (2).

l2. For example, the FCCPA prohibits a person from collecting consumer debt by
communicating with the consumer in a manner that can be expected to harass or abuse the
consumer debtor, and also prohibits a person from claiming, attempting, or threatening to enforce
a consumer debt “when such person knows that the debt is not legitimate” or by asserting a legal
right that does not exist. See Florida Statutes, Sections 559.72(7) and 559.72(9).

TCPA STATUTORY STRUCTURE

13. Congress enacted the TCPA in effort to restrict pervasive use of telemarketing and
increasing use of cost-effective telemarketing techniques Pub L. 102-243, § 2, Dec. 20, 1991 , 105
Sta. 2394 (l) and (8).

l4. Congress found that “[u]nrestricted telemarketing. . .can be an intrusive invasion of
privacy...” and it intended to prevent automated or pre-recorded telephone calls as “the only
effective means of protecting telephone consumers from this nuisance and privacy invasion.” ]d.
at (5) and (l2).

15. Under the TCPA, any person who initiates calls to any number assigned to a cellular
telephone service using any automated telephone dialing system or artificial or prerecorded voice

without the recipient’s prior express consent is liable to the recipient for actual monetary loss, or

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up to $500.00 in damages for each violation of the TCPA, whichever is greater. 47 U.S.C. §
227(b)(3)(B).
16. Additionally, under the TCPA, the court may increase the damage award up to three

(3) times, up to 8 l ,500.00, for each willful or knowing violation of the TCPA. ]d at § 227(b)(3)(C).

 

GENERAL ALLEGATIONS
l7. At all material times herein, Defendant is a “creditor” as defined by Florida
Statutes, Section 559.55(5).
18. At all material times herein, Plaintiff is a “debtor” or “consumer” as defined by

Florida Statutes, Section 559.55(8).

19. At all material times herein, Defendant attempts to collect a debt, specifically a
balance on a Discover consumer credit card (hereinafter, the “Debt”).

20. At all material times herein, the Debt is a consumer debt, a result of a transaction
for goods or services, incurred primarily for personal, household, or family use.

21. At all material times herein, Defendant is a “person” subject to Florida Statutes,
Section`559.72. See Fla. Stat. § 559.55(5); Schauer v. Gerzeral Moz‘ors Acceptance Corp., 819 So.
2d 809 (Fla. 4th DCA 2002).

22. At all material times herein, Defendant’s conduct, with regard to the Debt
complained of below, qualifies as “communication” as defined by Florida Statutes, Section
559.55(2).

23. At all material times herein, Defendant acts itself or through its agents, employees,
officers, members, directors, successors, assigns, principals, trustees, sureties, subrogees,
representatives, third-party vendors, and insurers.

24. All necessary conditions precedent to the filing of this action occurred or Defendant

waived the same.

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FACTUAL ALLEGATIONS

25. Defendant made telephone calls, as more specifically alleged below, to Plaintiff s
cellular telephone number 727.XXX.1240 (hereinafter, “Plaintiff’s Cellular Telephone) using an
automatic telephone dialing system (hereinafter, “ATDS”), a predictive telephone dialing system
(hereinafter, “PTDS”), or an artificial or pre~recorded voice (hereinafter, “APV”).

26. Plaintiff owns, regularly uses, and possesses Plaintiff’ s Cellular Telephone.

27. At no time herein did Defendant possess Plaintiff" s prior express consent to call
Plaintiff s Cellular Telephone using an ATDS, a PTDS, or an APV.

28. Further, if Defendant contends it possessed such consent, Plaintiff revoked any
consent the moment that Plaintiff orally instructed Defendant to cease calling Plaintiff"s Cellular
Telephone, in or about both February 2015 and the Fall of 201 5.

29. Additionally, if Defendant contends it made the below-referenced phone calls for
“informational purposes only,” Defendant nevertheless lacked the required prior express written
consent necessary to make such informational calls to Plaintiff’s Cellular Telephones using an
ATDS, a PTDS, or an APV.

30. Defendant directly made calls to Plaintiff s Cellular Telephone on or about the

following dates and times:

l) 02/04/2015 13:55:36 UTC
2) 02/04/2015 13:55:37 UTC
3) 02/07/2015 14:55:53 UTC
4) 02/07/2015 14:55:54 UTC
5) 02/10/2015 15:38:42 UTC
6) 02/10/2015 15:38:43 UTC
7) 02/11/2015 15:51:50 UTC
8) 02/11/2015 15:51:51 UTC
9) 02/12/2015 21:24:22 UTC
10) 05/06/2015 12:21:04 UTC
1l)05/06/2015 17:39:55 UTC
12)05/06/2015 21:13:30 UTC
13) 05/06/2015 21:13:31 UTC

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14) 05/07/2015 12:12:33 UTC
15) 05/07/2015 16:31:53 UTC
16) 05/07/2015 21 :28:50 UTC
17) 05/08/2015 12:46:38 UTC
18) 05/08/2015 17:23:19 UTC
19) 05/08/2015 23:45:30 UTC
20) 05/09/2015 12:38:24 UTC
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23) 05/09/2015 17:30:58 UTC
24) 05/10/2015 13:24:30 UTC
25) 05/10/2015 15:32:06 UTC
26) 05/10/2015 16:47:45 UTC
27) 05/11/2015 12:26:02 UTC
28) 05/11/2015 17:05:03 UTC
29)05/11/2015 22:50:32 UTC
30) 05/12/2015 12:50:42 UTC
31)05/12/2015 18:56:13 UTC
32) 05/12/2015 22:25:07 UTC
33) 05/13/2015 12:49:07 UTC
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35) 05/13/2015 22:12:43 UTC
36) 05/14/2015 12:16:03 UTC
37) 05/14/2015 17:01:13 UTC
38) 05/14/2015 22:09:27 UTC
39) 05/15/2015 12:53:19 UTC
40) 05/16/2015 17:39:15 UTC
41)05/16/2015 18:45:35 UTC
42) 05/16/2015 19:48:18 UTC
43) 05/17/2015 13:53:40 UTC
44) 05/17/2015 16:28:30 UTC
45) 06/23/2015 12:18:08 UTC
46) 06/23/2015 18:57:05 UTC
47) 06/23/2015 20:26:23 UTC
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51) 06/24/2015 21:37:15 UTC
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54) 06/25/2015 19:56:05 UTC
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61) 06/27/2015 12:37:32 UTC
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68) 06/29/2015 22:46:07 UTC
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79) 07/02/2015 17:14:18 UTC
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89) 07/05/2015 13:12:25 UTC
90) 07/05/2015 15:15:30 UTC
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93) 07/06/2015 12:35:44 UTC
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95) 07/06/2015 21:50:36 UTC
96) 07/06/2015 23:05:02 UTC
97) 07/07/2015 12:06:05 UTC
98) 07/07/2015 15:41:10 UTC
99) 07/07/2015 20:48:09 UTC

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101) 07/08/2015 12:20:58 UTC
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104) 07/08/2015 23:25:29 UTC
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106) 07/09/2015 19:24:34 UTC
107) 07/09/2015 20:31:32 UTC

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108) 07/09/2015 21 :59:54 UTC
109) 07/10/2015 12:23:02 UTC
110) 07/10/2015 17:48:04 UTC
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125) 07/15/2015 12:12:39 UTC
126) 07/15/2015 20:12:54 UTC
127) 07/15/2015 21 :26:56 UTC
128) 07/15/2015 22:37:24 UTC
129) 07/16/2015 12:09:09 UTC
130) 07/16/2015 18:15:08 UTC
131) 07/16/2015 19:59:18 UTC
132) 07/16/2015 21:53:18 UTC
133) 07/17/2015 12:31:33 UTC
134) 07/17/2015 18:02:04 UTC
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136) 07/17/2015 21 :53:04 UTC
137) 07/18/2015 12:11:17 UTC
138) 07/18/2015 17:03:29 UTC
139) 07/18/2015 17:19:40 UTC
140) 07/18/2015 18:36:11 UTC
141) 07/18/2015 19:40:28 UTC
142) 07/19/2015 13:22:45 UTC
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148) 07/20/2015 17:41:37 UTC
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150) 07/21/2015 12:38:08 UTC
151) 07/21/2015 20:18:04 UTC
152) 07/21/2015 21:31:22 UTC
153) 07/21/2015 22:51:36 UTC
154) 07/22/2015 12:26:10 UTC

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155) 07/22/2015 21:05:02 UTC
156) 07/22/2015 22:12:39 UTC
157) 07/22/2015 23:22:59 UTC
158) 07/23/2015 12:01:53 UTC
159) 07/23/2015 15:13:57 UTC
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170) 07/25/2015 19:55:40 UTC
171) 07/26/2015 13:40:24 UTC
172) 07/26/2015 16:26:53 UTC
173) 07/26/2015 17:54:28 UTC
174) 07/26/2015 19:08:46 UTC
175) 07/27/2015 12:26:40 UTC
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185) 07/29/2015 21:06:22 UTC
186) 07/29/2015 23:07:22 UTC
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189) 07/30/2015 16:24:49 UTC
190) 07/30/2015 20:34:12 UTC
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192) 07/30/2015 22:20:55 UTC
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195) 07/31/2015 19:21:54 UTC
196) 07/31/2015 21 :25:20 UTC
197) 07/31/2015 22:38:47 UTC
198) 08/01/2015 12:32:20 UTC
199) 08/01/2015 16:08:47 UTC
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201) 08/01/2015 19:15:51 UTC

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202) 08/02/2015 13:30:24 UTC
203) 08/02/2015 15:55:06 UTC
204) 08/02/2015 17:16:24 UTC
205) 08/02/2015 18:33:53 UTC
206) 08/03/2015 12:21:38 UTC
207) 08/03/2015 18:18:44 UTC
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219) 08/06/2015 12:06:38 UTC
220) 08/06/2015 15:30:33 UTC
221) 08/06/2015 20:32:09 UTC
222) 08/06/2015 23*:*20:22 UTC
223) 08/07/2015 12:03:37 UTC
224) 08/07/2015 15:59:01 UTC
225) 08/07/2015 17:09:33 UTC
226) 08/07/2015 17:09:34 UTC
227) 08/07/2015 21 :31:04 UTC
228) 08/08/2015 12:17:53 UTC
229) 08/08/2015 16:16:43 UTC
230) 08/08/2015 16:16:44 UTC
231) 08/08/2015 18:15:16 UTC
232) 08/08/2015 19:31:31 UTC
233) 08/09/2015 13:51:09 UTC
234) 08/09/2015 16:49:20 UTC
235) 08/09/2015 17:53:29 UTC
236) 08/09/2015 19:22:54 UTC
237) 08/10/2015 12:04:46 UTC
238) 08/10/2015 17:30:50 UTC
239) 08/10/2015 19:45:04 UTC
240) 08/10/2015 21 :21 :37 UTC
241) 08/11/2015 12:04:21 UTC
242) 08/11/2015 17:53:00 UTC
243) 08/11/2015 19:42:58 UTC
244) 08/11/2015 21:10:05 UTC
245) 08/12/2015 12:37:54 UTC
246) 08/12/2015 13:46:58 UTC
247) 08/12/2015 20:39:43 UTC
248) 08/12/2015 22:58:31 UTC

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249) 08/12/2015 22:58:31 UTC
250) 08/13/2015 12:08:32 UTC
251) 08/13/2015 20:38:24 UTC
252) 08/13/2015 21 :50:03 UTC
253) 08/13/2015 23:45:25 UTC
254) 08/14/2015 12:23:13 UTC
255) 08/14/2015 19:39:19 UTC
256) 08/14/2015 20:42:07 UTC
257) 08/14/2015 22:49:49 UTC
258) 08/15/2015 12:35:41 UTC
259) 08/15/2015 15:57:08 UTC
260) 08/15/2015 17:03:50 UTC
261) 08/15/2015 18:22:21 UTC
262) 08/16/2015 13:31:42 UTC
263) 08/16/2015 15:36:46 UTC
264) 08/16/2015 16:41:41 UTC
265) 08/16/2015 17:44:52 UTC
266) 08/17/2015 12:20:02 UTC
267) 08/17/2015 16:27:57 UTC
268) 08/17/2015 16:27:58 UTC
269) 08/17/2015 17:31:47 UTC
270) 08/17/2015 21:48:27 UTC
271) 08/18/2015 12:13:49 UTC
272) 08/18/2015 19:05:39 UTC
273) 08/18/2015 20:15:38 UTC
274) 08/18/2015 2213 1 :33 UTC
275) 08/19/2015 12:16:23 UTC
276) 08/19/2015 15:49:21 UTC
277) 08/19/2015 21:05:03 UTC
278) 08/19/2015 21 :05:04 UTC
279) 08/19/2015 22:20:54 UTC
280) 08/20/2015 12:23:01 UTC
281) 08/20/2015 19:48:33 UTC
282) 08/20/2015 21 :00:20 UTC
283) 08/20/2015 22:06:51 UTC
284) 08/21/2015 12:51:17 UTC
285) 08/21/2015 14:07:26 UTC
286) 08/21/2015 16:57:41 UTC
287) 08/21/2015 22:05:49 UTC
288) 08/21/2015 23:11:30 UTC
289) 08/22/2015 12:12:12 UTC
290) 08/22/2015 13:40:59 UTC
291) 08/22/2015 15:00:19 UTC
292) 08/22/2015 16:29:24 UTC
293) 08/22/2015 17:32:59 UTC
294) 08/23/2015 13:39:31 UTC
295) 08/23/2015 15:06:18 UTC

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296) 08/23/2015 16:18:32 UTC
297) 08/23/2015 17:36:37 UTC
298) 08/23/2015 18:54:20 UTC
299) 08/24/2015 12:58:24 UTC
300) 08/24/2015 14:14:55 UTC
301) 08/24/2015 18:23:04 UTC
302) 08/24/2015 21 :33:09 UTC
303) 08/24/2015 22:42:55 UTC
304) 08/25/2015 12:06:25 UTC
305) 08/25/2015 13:10:04 UTC
306) 08/25/2015 16:07:12 UTC
307) 08/25/2015 20:22:00 UTC
308) 08/25/2015 21 :36:16 UTC
309) 08/26/2015 12:36:30 UTC
310) 08/26/2015 13:40:04 UTC
311) 08/26/2015 16:44:45 UTC
312) 08/26/2015 21 :25:03 UTC
313) 08/26/2015 22:39:10 UTC
314) 08/27/2015 12:36:07 UTC
315) 08/27/2015 13:54:26 UTC
316) 08/27/2015 18:54:33 UTC
317) 08/27/2015 21 :43:34 UTC
318) 08/27/2015 23:04:14 UTC
319) 08/28/2015 12:20:40 UTC
320) 08/28/2015 13:49:48 UTC
321) 08/28/2015 18:48:38 UTC
322) 08/28/2015 21 :51:01 UTC
323) 08/28/2015 23:55:30 UTC
324) 08/29/2015 12:26:34 UTC
325) 08/29/2015 13:47: 14 UTC
326) 08/29/2015 15:10:25 UTC
327) 08/29/2015 16:36:39 UTC
328) 08/29/2015 17:55:42 UTC
329) 08/30/2015 13:44:45 UTC
330) 08/30/2015 14:56:33 UTC
331) 08/30/2015 16:14:06 UTC
332) 08/30/2015 17:36:11 UTC
333) 08/31/2015 12:37:03 UTC
334) 08/31/2015 13:40:48 UTC
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336) 08/31/2015 21 :21:37 UTC
337) 11/25/2015 21:07:16 UTC
338) 11/25/2015 21 :07:16 UTC
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340) 11/27/2015 19:46:03 UTC
341) 11/30/2015 14:42:00 UTC
342) 11/30/2015 14:42:01 UTC

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343) 12/03/2015 15:25:25 UTC
344) 12/03/2015 15:25:25 UTC
345) 12/09/2015 23:15:46 UTC
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347) 12/14/2015 19:11:57 UTC
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356) 12/22/2015 18:15:58 UTC
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359) 12/23/2015 16:08:23 UTC
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361) 12/23/2015 21:11:45 UTC
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364) 12/24/2015 15:39:03 UTC
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366) 12/24/2015 18:51:25 UTC
367) 12/24/2015 20:40:56 UTC
368) 12/26/2015 14:06:33 UTC
369) 12/26/2015 15:13:23 UTC
370) 12/26/2015 16:21:35 UTC
371) 12/27/2015 14:58:34 UTC
372) 12/27/2015 16:12:09 UTC
373) 12/27/2015 17:25:05 UTC
374) 12/27/2015 18:39:18 UTC
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386) 12/30/2015 23:02:05 UTC
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388) 12/31/2015 17:50:16 UTC
389) 12/31/2015 20:52:06 UTC

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390) 12/31/2015 22:56:30 UTC
391) 01/01/2016 14:32:32 UTC
392) 01/01/2016 15:38:58 UTC
393) 01/01/2016 16:51:55 UTC
394) 01/02/2016 13:41:17 UTC
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396) 01/02/2016 16:46:08 UTC
397) 01/02/2016 17:54:46 UTC
398) 01/04/2016 16:03:52 UTC
399) 01/04/2016 17:42:02 UTC
400) 01/04/2016 21:03:58 UTC
401) 01/04/2016 22:46:16 UTC
402) 01/05/2016 00:21:04 UTC
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408) 01/06/2016 01:05:48 UTC
409) 01/06/2016 15:38:32 UTC
410) 01/06/2016 17:56:35 UTC
411) 01/06/2016 20:49:41 UTC
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413) 01/07/2016 00:24:25 UTC
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423) 01/08/2016 20:52:09 UTC
424) 01/08/2016 22:52:19 UTC
425) 01/09/2016 00:30:19 UTC
426) 01/09/2016 13:53:15 UTC
427) 01/09/2016 15:36:17 UTC
428) 01/09/2016 15:36:17 UTC
429) 01/09/2016 16:42:32 UTC
430) 01/09/2016 17:45:23 UTC
431) 01/09/2016 18:54:31 UTC
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433) 01/10/2016 16:14:42 UTC
434) 01/10/2016 17:34:39 UTC
435) 01/10/2016 18:51:04 UTC
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437) 01/11/2016 17:51:31 UTC
438) 01/11/2016 20:48:16 UTC
439) 01/11/2016 22:55:55 UTC
440) 01/12/2016 00:40:18 UTC
441) 01/12/2016 15:48:07 UTC
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444) 01/12/2016 22:44:13 UTC
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469) 01/18/2016 17:22:03 UTC
470) 01/18/2016 20:26:43 UTC
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479) 01/20/2016 15:52:44 UTC
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484) 01/21/2016 01:40:36 UTC
485) 01/21/2016 15:50:23 UTC
486) 01/21/2016 18:50:01 UTC
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491) 01/22/2016 17:08:06 UTC
492) 01/22/2016 18:16:46 UTC
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498) 01/23/2016 16:55:03 UTC
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500) 01/25/2016 16:03:41 UTC
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511) 01/27/2016 17:43:22 UTC
512) 01/27/2016 20:48:48 UTC
513) 01/27/2016 21:44:35 UTC
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518) 01/28/2016 14:05:20 UTC
519) 01/28/2016 16:03:49 UTC
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